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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA

 IN RE: AQUEOUS FILM-FORMING FOAMS                          ) Master Docket No.:
 PRODUCTS LIABILITY LITIGATION                              ) 2:18-mn-2873-RMG

                                                            )
 CITY OF CAMDEN, et al.,                                    )
                                                            )
                Plaintiffs,                                 ) Civil Action No.:
                                                            ) 2:23-cv-03147-RMG
 v.                                                         )
                                                            )
 3M COMPANY,                                                )
                                                            )
                Defendant.                                  )



             ORDER GRANTING JOINT MOTION TO AMEND
  THE PRELIMINARILY APPROVED 3M SETTLEMENT AGREEMENT AND THE
                  PRELIMINARY APPROVAL ORDER

        Before the Court is the Parties’ joint motion to amend the preliminarily approved settlement

agreement and the preliminary approval order (Dkt. No. 4383). The Parties seek to both clarify

the process by which an Eligible Claimant that has elected to opt out may withdraw its Request

for Exclusion and extend the deadline to do so to at any time on or before March 1, 2024. The

Parties have submitted joint guidance to this effect (Dkt. No. 4383-1). For good cause shown, the

Court GRANTS the Parties’ motion.

        The Parties’ joint guidance is hereby adopted, the Settlement Agreement is amended as

stated therein, and Section VIII of the Court’s August 29, 2023 Preliminary Approval Order is

amended as follows (amendment in italics):

        VIII. Stay and Injunction

               Pursuant to the Court’s inherent authority to control its own docket and its

        powers under the All Writs Act, 28 U.S.C. § 1651, (a) all litigation in any forum or
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       jurisdiction (whether federal, state, or otherwise) brought by or on behalf of any

       Eligible Claimant or Releasing Party and that asserts a Released Claim, and all

       Claims and proceedings therein, are hereby STAYED as to any Released Party,

       except as to proceedings that may be necessary to implement the Settlement, to

       remove an action to federal court, or to obtain transfer by the Judicial Panel on

       Multidistrict Litigation; and (b) all Eligible Claimants and Releasing Parties are

       ENJOINED from filing or prosecuting any litigation that asserts a Released Claim

       in any forum or jurisdiction (whether federal, state, or otherwise) against any of the

       Released Parties, provided however, that, after March 1, 2024, the stay and

       injunction shall not apply to any Person who has filed (and not withdrawn) a timely

       and valid Request for Exclusion and that the stay and injunction shall not apply to

       litigation brought by a State or the federal government. The foregoing stay and

       injunction shall remain in effect until the earlier of (a) the Effective Date, in which

       case such provisions shall be superseded by the provisions of the Order Granting

       Final Approval, or (b) the termination of the Settlement Agreement in accordance

       with its terms.


AND IT IS SO ORDERED.


Charleston, South Carolina, this 29th day of January, 2024.



                                                      s/Richard M. Gergel
                                                      Richard M. Gergel
                                                      UNITED STATES DISTRICT JUDGE
